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                        C.A. No. 25-228

   IN THE UNITED STATES COURT OF APPEALS
           FOR THE NINTH CIRCUIT

      UBER TECHNOLOGIES, INC., AND PORTIER, LLC,
                                      Plaintiffs-Appellants,

             MAPLEBEAR INC., d/b/a INSTACART,
                                       Intervenor-Plaintiff,
                                v.

                       CITY OF SEATTLE,
                                       Defendant-Appellee.

     On Appeal from the United States District Court
     for the Western District of Washington (Seattle)
              D. Ct. No. 2:24-cv-02103-MJP
    The Honorable Marsha J. Pechman, District Judge

BRIEF OF THE CHAMBER OF COMMERCE OF THE
UNITED STATES OF AMERICA AS AMICUS CURIAE
   IN SUPPORT OF PLAINTIFFS-APPELLANTS

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                     DISCLOSURE STATEMENT

     Pursuant to Federal Rules of Appellate Procedure 26.1(a) and

29(a)(4)(A), undersigned counsel states that amicus curiae The Chamber

of Commerce of the United States of America (Chamber) is a non-profit,

tax-exempt organization incorporated in the District of Columbia. The

Chamber has no parent corporation and no publicly held company has

10% or greater ownership in the Chamber.


Date: February 18, 2025                /s/ Adam G. Unikowsky
                                       Adam G. Unikowsky
                                       Counsel of Record for Amicus
                                        Curiae The Chamber of Commerce
                                        of the United States of America




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        IDENTITY AND INTEREST OF AMICUS CURIAE 1

     Amicus curiae The Chamber of Commerce of the United States of

America (Chamber) is the world’s largest business federation. It repre-

sents approximately 300,000 direct members and indirectly represents

the interests of more than three million companies and professional or-

ganizations of every size, in every industry sector, and from every region

of the country. An important function of the Chamber is to represent the

interests of its members in matters before Congress, the Executive

Branch, and the courts. To that end, the Chamber regularly files briefs

as amicus curiae in cases, like this one, that raise issues of concern to the

Nation’s business community—including many in this Court. See, e.g.,

Brief of The Chamber of Commerce of the United States of America

as Amicus Curiae in Support of Defendants-Appellants, Pandolfi v.

AviaGames, Inc., No. 24-5817 (9th Cir.), ECF No. 22.1 (Jan. 22, 2025);

Brief of Amici Curiae The Chamber of Commerce of the United States of


1 All parties have consented to the filing of this brief.Pursuant to Fed-
eral Rule of Appellate Procedure 29(a)(4)(E), amicus states that no
party’s counsel authored this brief in whole or in part; that no party or
party’s counsel contributed money that was intended to fund preparing
or submitting this brief; and that no person or entity other than amicus,
its members, or its counsel contributed money that was intended to fund
preparing or submitting this brief.


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America et al. in Support of Appellee & Affirmance, Healy v. Milliman,

Inc., No. 24-3327 (9th Cir.), ECF No. 39.1 (Dec. 20, 2024); Brief of The

Chamber of Commerce of the United States of America as Amicus Curiae

Supporting Plaintiff-Appellee, Pharm. Rsch. & Mfrs. of Am. v. Stolfi, No.

24-1570 (9th Cir.), ECF No. 36.1 (Sept. 11, 2024).

       The Chamber has a strong interest in this case, which implicates

businesses’ rights under the First Amendment to be free from govern-

ment intrusion on their speech. The Chamber is concerned about the

implications of the ruling below, in which the district court held that the

Free Speech Clause plays no role in analyzing the validity of a law that

compels businesses to speak in the way that the government dictates ra-

ther than permit them to craft their own messages. If the district court’s

analysis were to be adopted by this Court, States and local jurisdictions

throughout this Circuit will be empowered to intrude on businesses’ free-

speech rights in the guise of purportedly regulating conduct. But well-

established First Amendment principles leave no doubt: that a business

operates in a commercial sphere does not mean it forfeits its constitu-

tional rights, even when it comes to speech regarding commercial activ-

ity.   And a speech-compelling law’s regulation of conduct does not



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necessarily render its speech implications immune from the Free Speech

Clause.

     The Chamber therefore urges this Court to adhere to the precedent

of the Supreme Court and this Court that applies First Amendment scru-

tiny to laws compelling speech by commercial entities. Under this prec-

edent, the district court’s analysis cannot stand.

                   SUMMARY OF THE ARGUMENT

     I.   It has long been established that businesses, like individuals,

are protected by the Free Speech Clause. That means businesses, like

individuals, are protected against laws that seek to compel speech—i.e.,

to put the government’s preferred message in private speakers’ mouths.

     It may be tempting for legislatures to impinge businesses’ free-

speech rights in the guise of regulating commercial conduct. Courts

therefore must be vigilant in policing the First Amendment rights of busi-

nesses. Businesses play a special role in the marketplace of ideas that

the Free Speech Clause protects. The doctrine of the Supreme Court and

this Court recognizes that role by consistently applying First Amend-

ment scrutiny to laws that restrict or compel businesses’ speech.




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     II.   In particular, laws that compel businesses to speak are consist-

ently subjected to First Amendment scrutiny. And critically here, it has

not mattered whether the compelled speech is about a controversial topic

or more mundane issues relating to commercial activity. The throughline

of free-speech doctrine in this country is that the First Amendment—and

some form of means-end scrutiny—applies whenever a law facially com-

pels speech.

     The district court’s analysis below was not sensitive to these core

First Amendment principles. In the district court’s view, Seattle’s Ordi-

nance—which compels businesses like Uber and Instacart to announce

policies and make disclosures of the City’s choosing—is nothing more

than a regulation of conduct with a mere incidental burden on speech.

That is wrong. The Ordinance regulates conduct, to be sure, but it also

facially compels businesses to speak. First Amendment scrutiny is there-

fore warranted. The City cannot avoid the constitutional implications of

its compelled-speech regime by simply packaging rules offensive to the

First Amendment with rules governing conduct.

     This Court should reverse the judgment below.




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                               ARGUMENT

I.   The Free Speech Clause Protects A Business’s Right, No
     Less Than An Individual’s, To Be Free From Government-
     Compelled Speech.

     It is black-letter law that the First Amendment protects the right

of businesses to speak freely just as it protects the right of individuals to

do so. See First Nat’l Bank of Bos. v. Bellotti, 435 U.S. 765, 777 (1978).

That is because “[c]orporations and other associations, like individuals,

contribute to the ‘discussion, debate, and the dissemination of infor-

mation and ideas’ that the First Amendment seeks to foster.” Pac. Gas

& Elec. Co. v. Pub. Utils. Comm’n of Cal., 475 U.S. 1, 8 (1986) (PG&E)

(plurality opinion) (quoting Bellotti, 435 U.S. at 783). And the “inherent

worth” of speech—what the Free Speech Clause is designed to defend—

“does not depend upon the identity of its source, whether corporation,

association, union, or individual.” McIntyre v. Ohio Elections Comm’n,

514 U.S. 334, 353 (1995) (quoting Bellotti, 435 U.S. at 777); see 303 Cre-

ative LLC v. Elenis, 600 U.S. 570, 594 (2023).

     Indeed, businesses’ speech contributes to the marketplace of ideas

in a variety of ways, and businesses have a distinct viewpoint to offer on

a wide array of topics. For instance, businesses can offer valuable factual



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information and opinions on new products, technologies, and services.

They can provide unique insight into the advantages and disadvantages

of current or proposed economic regulations and policy. And they are

particularly well situated and motivated to advocate for how new laws,

changes in policy, and competing political candidates will affect U.S. eco-

nomic growth.

     An integral aspect of businesses’ free-speech protection under the

First Amendment is their right to be free from government compulsion

to speak a particular message. After all, “in the context of protected

speech, the First Amendment’s guarantee … makes no distinction of ‘con-

stitutional significance’ ‘between compelled speech and compelled si-

lence.’” Nat’l Ass’n of Wheat Growers v. Bonta, 85 F.4th 1263, 1275 (9th

Cir. 2023) (quoting Riley v. Nat’l Fed’n of the Blind of N.C., Inc., 487 U.S.

781, 796–97 (1988)). And that guarantee “applies not only to expressions

of value, opinion, or endorsement, but equally to statements of fact the

speaker would rather avoid.” Hurley v. Ir.-Am. Gay, Lesbian & Bisexual

Grp. of Bos., 515 U.S. 557, 573 (1995). Like individuals, businesses pre-

sumptively enjoy the right to control the content of their speech—and to

avoid being the mouthpiece for the government’s preferred messages—



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even when it comes to speech about commercial activities. See PG&E,

475 U.S. at 16 (plurality opinion) (“For corporations as for individuals,

the choice to speak includes within it the choice of what not to say.”).

     It may be easy for courts and legislative bodies to discount these

well-established principles given that the government subjects busi-

nesses to a wealth of regulations. Rules that intrude on businesses’ free-

dom of speech—whether by restricting speech or compelling businesses

to speak in a particular way—can often be smuggled in alongside regula-

tions of businesses’ conduct.

     In fact, because businesses play such an important role in our Na-

tion’s marketplace of ideas, those in power may have strong incentives to

stifle businesses’ speech or coopt their voice. Legislative bodies may find

it particularly tempting to use their (sometimes legitimate) power to reg-

ulate certain conduct by businesses to (illegitimately) turn businesses

into mouthpieces for the government’s preferred messages. Such efforts

are problematic for two reasons. First, regardless of the speaker affected,

compelled speech is always a serious impingement on “the right of free-

dom of thought protected by the First Amendment.” Wooley v. Maynard,

430 U.S. 705, 714 (1977).          And additionally, using public-facing



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businesses as a megaphone for projecting the government’s preferred

messages allows the government to ensure a message’s wide distribution

without accepting political accountability.        Governments and govern-

ment officials are perfectly capable of promoting their views through

their own pulpits. It serves no purpose—to the contrary, it offends First

Amendment values—for governments and their officials to avoid account-

ability by dragooning businesses into purveying public officials’ views as

if they were the businesses’ own. Accordingly, courts must vigilantly po-

lice the line between legitimate regulation of businesses and their con-

duct, on the one hand, and illegitimate efforts to impede the full exercise

of First Amendment rights, on the other.

     In light of the special importance and unique dangers relating to

speech by businesses, the Supreme Court and this Court have consist-

ently applied First Amendment scrutiny when the government compels

disclosures by businesses, regardless whether those disclosures are of un-

controversial commercial fact or of political messages wont to engender

controversy. See, e.g., Nat’l Inst. of Fam. & Life Advocs. v. Becerra, 585

U.S. 755, 766–67 (2018) (NIFLA); Sorrell v. IMS Health Inc., 564 U.S.

552, 563–66 (2011); X Corp. v. Bonta, 116 F.4th 888, 899–901 (9th Cir.



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2024); NetChoice, LLC v. Bonta, 113 F.4th 1101, 1119–20 (9th Cir. 2024);

Coyote Publ’g, Inc. v. Miller, 598 F.3d 592, 599–600 (9th Cir. 2010). Just

as clear is that the power to regulate (or prohibit) certain commercial

activity does not imply a power to regulate the way a business speaks

about that activity. See, e.g., 44 Liquormart, Inc. v. Rhode Island, 517

U.S. 484, 512 (1996) (plurality opinion); NetChoice, 113 F.4th at 1117.

      These consistent throughlines of First Amendment case law must

be the starting point of the analysis here.

II.   The District Court’s Analysis Improperly Disregarded The
      Free-Speech Implications Of The Seattle Ordinance.

      In case after case, the Supreme Court and this Court have recog-

nized that the Free Speech Clause offers protection against compelled

disclosures, even in the context of commercial activities. The district

court, however, concluded that the effects of Seattle’s Ordinance on

Uber’s and Instacart’s speech could be disregarded as merely incidental

burdens of a rule governing conduct. The court therefore applied no First

Amendment scrutiny whatsoever. That conclusion cannot be squared

with well-established principles of free-speech doctrine.




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     A.    Laws Regulating The Way In Which Businesses Speak
           About Their Services Are Subject To First Amendment
           Scrutiny.

     It is beyond dispute that laws compelling businesses to speak about

their operations are subject to First Amendment scrutiny, just as is the

case with laws regulating the political speech of private individuals. Both

the Supreme Court and this Court routinely apply the Free Speech

Clause to rules compelling businesses to speak, even when the compelled

statements relate to the businesses’ economic activity.

     Consider Expressions Hair Design v. Schneiderman, 581 U.S. 37

(2017). The New York law at issue prohibited retailers from imposing a

“surcharge” for customers who use credit cards, though it permitted re-

tailers to offer a “discount” for those paying with cash. Id. at 39–40. At

first glance, this law might appear to be nothing more than a price regu-

lation—i.e., a regulation of conduct rather than speech. So the Second

Circuit held. Id. at 43.

     The Supreme Court, however, disagreed. The Court observed that

a law requiring a particular price for a particular item (“for example, a

law requiring all New York delis to charge $10 for their sandwiches”)

would be a regulation of conduct beyond the concern of the First



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Amendment; even though it would require retailers to list the govern-

ment’s specified price, that would be merely “incidental to [the law’s] pri-

mary effect on conduct.” Expressions Hair Design, 581 U.S. at 47; see

Rumsfeld v. Forum for Acad. & Institutional Rts., Inc., 547 U.S. 47, 62

(2006) (FAIR) (“[I]t has never been deemed an abridgment of freedom of

speech or press to make a course of conduct illegal merely because the

conduct was in part initiated, evidenced, or carried out by means of lan-

guage, either spoken, written, or printed.” (quoting Giboney v. Empire

Storage & Ice Co., 336 U.S. 490, 502 (1949))). But the New York law

differed because it “regulate[d] … how sellers may communicate their

prices.” Expressions Hair Design, 581 U.S. at 47 (emphasis added). In

other words, the law—though it certainly regulated conduct—also regu-

lated speech, and thus implicated the First Amendment, because it reg-

ulated not just prices but the “communication of prices.” Id. at 48.

     Consider as well this Court’s decision in San Francisco Apartment

Ass’n v. City & County of San Francisco, 881 F.3d 1169 (9th Cir. 2018).

That case concerned a San Francisco ordinance regulating landlords’ ne-

gotiation of lease-buyout agreements with their tenants. Id. at 1173. The

landlords argued that the regulation compelled speech by requiring



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certain disclosures to tenants before commencing buyout negotiations,

such as the fact that under the ordinance, tenants had certain rights in

the negotiations. Id. at 1174, 1176. No one argued that San Francisco

lacked power to grant tenants those rights, just as no one argues in these

appeals that Seattle lacks power to give couriers certain rights against

deactivation. But by requiring regulated parties to make disclosures

about those rights, the ordinance implicated the First Amendment, and

this Court proceeded to analyze it accordingly. See id. at 1176–78.

     In short, regulations of businesses’ conduct are often constitution-

ally permissible. But when those regulations also compel the business to

speak in a particular way, the First Amendment comes into play.

     B.    The District Court’s Analysis Wrongly Departed From
           These Basic First Amendment Principles.

     Under these principles, it is straightforward that First Amendment

scrutiny is warranted in this case. The Ordinance goes well beyond

simply regulating deactivations—it affirmatively compels speech in sev-

eral ways. The Ordinance requires businesses like Uber and Instacart to

develop and disclose written policies relating to deactivation. Seattle,

Wash., Mun. Code § 8.40.050(A)(1). It also requires those businesses, be-

fore deactivating a courier, to provide detailed information and records


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regarding the reasons for deactivation and any incidents leading to the

deactivation decision. See id. § 8.40.070. By not simply regulating deac-

tivation but compelling disclosures relating to deactivation, the Ordi-

nance implicates the First Amendment’s free-speech guarantee.          See

NetChoice, 113 F.4th at 1117 (“It is … well-established that the forced

disclosure of information, even purely commercial information, triggers

First Amendment scrutiny.”).

     The district court’s contrary conclusion—that the Ordinance is

merely a regulation of conduct and thus the First Amendment does not

apply at all—is untenable. The court’s analysis betrays a serious misun-

derstanding of First Amendment principles.

     The district court began its analysis by stating that “the Ordi-

nance’s requirements do little more than regulate conduct without any

significant impact on speech or expression.” Order 7.2 The court ap-

peared to rely on the premise that First Amendment scrutiny applies to

a law regulating conduct only if that conduct is expressive or if the law

was enacted for the specific purpose of targeting expression. Order 6–7.


2 The district court’s order denying preliminary relief appears at pages 3

to 18 of the Excerpts of Record in No. 25-228, ECF No. 12.2, and at pages
2 to 17 of the Excerpts of Record in No. 25-231, ECF No. 7.2.


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That premise is erroneous. Here, the Ordinance facially compels Uber

and Instacart to speak, so it is simply irrelevant whether its enactment

was principally motivated by a desire to protect workers or by a desire to

“regulate speech or expressive conduct.”         Order 7.     Laws compelling

speech always trigger First Amendment scrutiny, and the district court

was wrong to overlook this basic principle of constitutional law.

     The district court next rejected Uber’s analogy to the regulation at

issue in NIFLA, which applied strict scrutiny to a California law requir-

ing certain clinics engaged in pregnancy-related advocacy to make disclo-

sures about state-sponsored reproductive care. 585 U.S. at 761–63, 766–

67. The court believed that this case is not like NIFLA because, under

the Ordinance here, “Uber is not required to make any affirmative state-

ment with which it may disagree.” Order 9. Again, this is irrelevant

under well-established First Amendment principles. The Free Speech

Clause does not only protect against being forced to utter controversial

statements with which the speaker disagrees. As explained above, the

First Amendment plays a role whenever speech is compelled, whether

the compelled speaker is a business speaking about economic information




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or an activist speaking about political issues. The district court was

wrong to so quickly jettison the First Amendment’s protections.

      Finally, the district court analogized the Ordinance to the law at

issue in FAIR, 547 U.S. 47. FAIR involved a federal law requiring law

schools (and other institutions of higher education) to provide military

recruiters with access equal to that granted other recruiters, on pain of

forfeiting federal funding. Id. at 51–52. The Supreme Court rejected a

free-speech challenge to the law, holding that the law governed conduct

with only an incidental burden on the law schools’ speech. See id. at 60–

65.

      Invoking FAIR, the district court observed that the fact “[t]hat a

law prohibits employers from engaging in particular conduct, such as ra-

cial discrimination, ‘hardly means that the law should be analyzed as one

regulating the employer’s speech rather than conduct.’” Op. 10 (quoting

FAIR, 547 U.S. at 62). In the district court’s view, the Ordinance here

“regulates conduct—the grounds on which an ‘app worker’ may be termi-

nated—and any speech-related impacts are minimal and similarly inci-

dental to those at issue in [FAIR].” Id.




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     This analogy is flawed. First Amendment scrutiny was unwar-

ranted in FAIR because the challenged law “d[id] not dictate the content

of the [schools’] speech at all.” 547 U.S. at 62. The law required only that

schools provide access to military recruiters; any associated speech deriv-

ative of that requirement was plainly incidental to the law’s require-

ments. By contrast, the Ordinance here facially requires regulated busi-

nesses to speak a specific message. This case is thus a far cry from FAIR,

and it instead fits squarely within the Supreme Court’s and this Court’s

cases applying First Amendment scrutiny to laws compelling businesses

to disclose information they would prefer to keep close to the vest. This

Court may not “ignore that the [Ordinance] compels speech simply be-

cause other parts of [it] may primarily or exclusively regulate non-expres-

sive conduct.” NetChoice, 113 F.4th at 1117. Put otherwise, Seattle “can-

not insulate a specific provision of law from a … challenge under the First

Amendment by bundling it with other, separate provisions that do not

implicate the First Amendment.” Id.




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                             CONCLUSION

     The judgment of the district court should be reversed.

                                       Respectfully submitted,

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                  CERTIFICATE OF COMPLIANCE

9th Cir. Case Number(s) 25-228

     I am the attorney or self-represented party.
     This brief contains 3,159 words, excluding the items exempted
by Fed. R. App. P. 32(f). The brief’s type size and typeface comply with
Fed. R. App. P. 32(a)(5) and (6).
     I certify that this brief (select only one):
[ ] complies with the word limit of Cir. R. 32-1.
[ ] is a cross-appeal brief and complies with the word limit of Cir. R.
    28.1-1.
[X] is an amicus brief and complies with the word limit of FRAP 29(a)(5),
     Cir. R. 29-2(c)(2), or Cir. R. 29-2(c)(3).
[ ] is for a death penalty case and complies with the word limit of Cir.
    R. 32-4.
[ ] complies with the longer length limit permitted by Cir. R. 32-2(b) be-
    cause (select only one):
[ ] it is a joint brief submitted by separately represented parties.
[ ] a party or parties are filing a single brief in response to multiple
    briefs.
[ ] a party or parties are filing a single brief in response to a longer joint
    brief.
[ ] complies with the length limit designated by court order dated
    _____________.
[ ] is accompanied by a motion to file a longer brief pursuant to Cir. R.
    32-2(a).


Signature /s/ Adam G. Unikowsky                     Date February 18, 2025




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                     CERTIFICATE OF SERVICE

     I hereby certify that on this day, I caused the foregoing document

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Date: February 18, 2025                 /s/ Adam G. Unikowsky
                                        Adam G. Unikowsky
                                        Counsel of Record for Amicus
                                         Curiae The Chamber of Commerce
                                         of the United States of America




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